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                                                     U. S. DISTRICT COT
                                                    Southern -r
                 IN THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION

UNITED STATES OF AMERICA             )                 -      DepvtFMk

V.                                   )        CASE NO. CR415-095

STACY PAUL WADDELL,

        Defendant.


                                ORDER

        Before the Court is Defendant Stacy Paul Waddell's

Motion in Limine. (Doc. 191.) In this motion, Defendant

seeks to preclude the Government from offering evidence of

or referring to

         (1) Robert Folkenberg's death;

         (2) Defendant's former supervision by the United

              States Probation Office;

         (3) A 2009-2010 investigation of Defendant's banking

              activities;

         (4) A 2010 arrest on suspicion of extortion;

         (5) Videos created as practical jokes that reference

              "strippers;" and

         (6) Craigslist advertisements posted by Defendant.

(Id. at 1-2.) In their response, the Government states its

intention not to offer as part of its case-in-chief

evidence concerning Defendant's supervision, the 2009-2010
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investigation, the 2010 arrest, and the practical joke

videos. (Doc. 200 9191 3-4.) Accordingly, those portions of

Defendant's motion are         DISMISSED AS MOOT.         However,

Defendant should be aware that the Government may still be

permitted to introduce that evidence outside of its case-

in-chief depending on what evidence or argument Defendant

offers at trial.

     Defendant contends that the Government should be

precluded from informing the jury of Mr. Folkenberg's death

because that knowledge would be inflammatory and

prejudicial. (Doc. 191 ¶ 1.) However, the Court fails to

see why the Government should be precluded from informing

the jury why Mr. Folkenberg is unavailable to testify at

trial, necessitating the need to present his testimony in

the form of a video deposition. A simple explanation that

Mr. Folkenberg is absent because he passed away during the

pendency of this case would not be so unduly prejudicial as

to require preclusion from the jury. Accordingly, this

portion of Defendant's motion is DENIED.

     Defendant also argues that the Government should be

prohibited from introducing evidence concerning the ads he

placed on Craigslist. (Id. ¶ 6.) According to Defendant,

this evidence should be precluded because the "3 alleged

victims did not contact the defendant as a result of these


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Craigslist ads." In effect, Defendant contends that the

Government has insufficient evidence to support its

allegations of telemarketing fraud. However, Defendant's

position does not challenge the admissibility of this

evidence at trial, but rather that the Government has

failed to prove its case beyond a reasonable doubt with

respect to telemarketing fraud. The proper time for

Defendant to raise this argument is at trial, not before

the Government has had an opportunity to present its

evidence. Accordingly, this portion of Defendant's motion

is also DENIED.

     SO ORDERED this 2?Thay of June 2016.




                                 WILLIAM T. MOORE,
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA




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